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   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Wednesday, April 10, 2019
                             Debtor.              ) 1:30 PM
   7     _____________________________            )
                                                    MOTION OF DEBTORS PURSUANT TO
   8                                                11 U.S.C. SECTIONS 105(A),
                                                    362, AND 363 AND FED. R.
   9                                                BANKR. P. 2002, 4001, AND
                                                    6004 FOR AN ORDER (I)
  10                                                AUTHORIZING DEBTORS TO (A)
                                                    SELL, TRANSFER, LEASE OR
  11                                                OTHERWISE ENCUMBER REAL
                                                    PROPERTY, (B) LEASE, LICENSE,
  12                                                AND PERMIT AGREEMENTS
                                                    RELATING TO THIRD-PARTY
  13                                                PROPERTY, AND (C) PURSUE AND
                                                    BRING EMINENT DOMAIN
  14                                                PROCEEDINGS TO JUDGMENT OR
                                                    ENTER INTO SETTLEMENTS IN
  15                                                LIEU THEREOF, SUBJECT TO
                                                    CERTAIN PROCEDURES AND
  16                                                PARAMETERS, AND (II) GRANTING
                                                    RELATED RELIEF [DKT. 1004].
  17
                                  TRANSCRIPT OF PROCEEDINGS
  18                         BEFORE THE HONORABLE DENNIS MONTALI
                               UNITED STATES BANKRUPTCY JUDGE
  19
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Case: 19-30088   Doc# 1352    Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 1 of
                                          42
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Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 2 of
                                         42
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Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 3 of
                                         42
                                                                                                4

                                   PG&E Corporation, et al.

   1      SAN FRANCISCO, CALIFORNIA, WEDNESDAY, APRIL 10, 2019, 1:31 PM

   2                                            -oOo-

   3             (Call to order of the Court.)

   4                 THE COURT:      Good afternoon.        Please be seated.

   5                 MS. LIOU:      The Matter of PG&E Corporation.               Good

   6     afternoon, Your Honor.          For the record, Jessica Liou, from

   7     Weil, Gotshal & Manges, counsel for the debtors.

   8                 THE COURT:      Good afternoon.        We don't have much left,

   9     do we?

  10                 MS. LIOU:      No, no.     The only item moving forward today

  11     on the agenda is docket number 1004.               It's what I'll call the

  12     debtor's real property transactions motion.

  13                 THE COURT:      All right.

  14                 MS. LIOU:      In support of the motion, we filed the

  15     declaration of Mr. Andrew Williams, who's in court today.                        And

  16     Your Honor, as you may have seen by this motion, the debtors

  17     are seeking to continue to enter into and consummate a variety

  18     of transactions relating to real property interests and

  19     establish procedures for determining when such transactions

  20     require committee review and/or Court approval.                     It's a pretty

  21     straightforward motion.

  22                 Your Honor, I'll just inform you that we had four

  23     formal responses filed to this motion by certain property

  24     owners in eminent domain actions, limited opposition at docket

  25     number 1177, and a joinder filed to our motion at docket number

Case: 19-30088    Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35    Page 4 of
                                          42
                                                                                        5

                                  PG&E Corporation, et al.

   1     1075.

   2                THE COURT:      I have them all, yes.

   3                MS. LIOU:      There was also a response filed by the

   4     California State agencies, which we have fully resolved, and

   5     also a response filed by the City of Oakland, which we have

   6     fully resolved.

   7                In addition to these formal responses, the debtors

   8     have received a number of informal comments from among other

   9     parties the creditors' committee, the claimants' committee, the

  10     CPUC, certain landlords, and potential lienholders, all of

  11     which we have resolved with the changes noted in the redline

  12     that was filed with this court on Monday evening at docket

  13     number 1286.

  14                THE COURT:      It sounded all right to me too, and I've

  15     looked at it.       I guess the real simple question is, is there

  16     anyone here in court or on the phone that wishes to be heard

  17     and has any ongoing objection to anything that's been resolved?

  18     Come on forward and -- name and identification and let's see if

  19     we can get it straightened out, because I've reviewed them all

  20     separately, and accept for any that were unresolved, I'm good

  21     to go.    Yes?

  22                MS. RENFRO:      Good afternoon, Your Honor.            Kristen

  23     Renfro, Desmond law firm in Sacramento, appearing on behalf of

  24     DF Properties and other property owners.               We filed the limited

  25     opposition to the motion relative to the treatment of eminent

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 5 of
                                         42
                                                                                        6

                                  PG&E Corporation, et al.

   1     domain --

   2                 THE COURT:     Right.

   3                 MS. RENFRO:     -- actions.

   4                 THE COURT:     But I couldn't tell what you wanted me to

   5     do.     I mean, the debtor filed the action, and you're raising

   6     the automatic stay is not an issue.             That's not an issue, so

   7     what is still an issue from your point of view?

   8                 MS. RENFRO:     Well, I think that the automatic stay is

   9     an issue, Your Honor, because this motion is seeking relief

  10     that presupposes the automatic stay, operates as a bar to cases

  11     in which PG&E is the plaintiff.

  12                 THE COURT:     Hold on, maybe I didn't state it well.

  13                 MS. RENFRO:     Sure.

  14                 THE COURT:     It doesn't.        There is no stay in the

  15     matter that PG&E initiated.           So --

  16                 MS. RENFRO:     I agree with Your Honor wholeheartedly.

  17                 THE COURT:      But what is -- let's try it a different

  18     way.     What is that you're bothered by about this motion

  19     that's --

  20                 MS. RENFRO:     Well, I think the Court is not aware,

  21     then, of the fact that notices of stay have been filed in all

  22     of the eminent domain cases that my office handles by the

  23     outside counsel that are assigned to those eminent domain

  24     matters on behalf of PG&E and that nothing is happening in

  25     those cases, based on the representations of PG&E's counsel in

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 6 of
                                         42
                                                                                         7

                                  PG&E Corporation, et al.

   1     those cases, that the automatic stay does bar the proceedings

   2     and that we're at a standstill.            And conversations, meet-and-

   3     confer efforts that we've had with counsel for PG&E in the

   4     bankruptcy case, it hasn't produced agreement on that point.

   5     The order --

   6                THE COURT:      Well, again without naming lawyers --

   7                MS. RENFRO:      Sure.

   8                THE COURT:      -- is it PG&E bankruptcy lawyers that

   9     still believe the stay is an impediment?               Or is it the outside

  10     counsel that perhaps haven't got the message?

  11                MS. RENFRO:      Apparently now both.          And the proposed

  12     order that PG&E has submitted to you would allow PG&E, by its

  13     terms, to determine which of the cases it's involved in,

  14     eminent domain cases, would have relief from stay.

  15                THE COURT:      Okay, Ms. Liou, you're going to have to

  16     tell me whether this is a nonissue or --

  17                MS. LIOU:      I can clarify, Your Honor.

  18                THE COURT:      Yeah.

  19                MS. LIOU:      So first off, there are a number of

  20     proceedings where PG&E as plaintiffs have initiated eminent

  21     domain actions.      The ones in which they filed the notices of

  22     stay are proceedings in which the debtors have already taken

  23     possession of the land and there has been a pre-petition

  24     settlement agreement executed with the parties.                    That's my

  25     understanding, based on my conversations with the debtors.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35    Page 7 of
                                         42
                                                                                             8

                                  PG&E Corporation, et al.

   1                If that's the case, that's a pre-petition settlement

   2     agreement upon which the debtors are not authorized to make a

   3     payment unless they come before this Court and seek that

   4     authorization.

   5                THE COURT:      Well, which is Ms. Renfro covering?                 Is

   6     she in that other category?

   7                MS. LIOU:      I'm not sure, but I will say that I'm just

   8     aware of notices of stay filed in those actions because we do

   9     not have authority to pay those claims, and that was meant to

  10     kind of let the other parties know that that's the case.

  11                THE COURT:      But we have to --

  12                MS. LIOU:      And with respect to --

  13                THE COURT:      But wait.      We've got to divide the world

  14     into where PG&E is the plaintiff and where it isn't the

  15     plaintiff.

  16                MS. LIOU:      Well --

  17                THE COURT:      If it's the plaintiff, there should --

  18                MS. LIOU:      -- there's really three buckets here,

  19     right?

  20                THE COURT:      Okay.

  21                MS. LIOU:      So there are actions in which PG&E are the

  22     defendants --

  23                THE COURT:      Right.

  24                MS. LIOU:      -- which I think it's pretty clear, the

  25     stay applies.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 8 of
                                         42
                                                                                             9

                                   PG&E Corporation, et al.

   1                THE COURT:       Agreed.

   2                MS. LIOU:       And we have to make a case-by-case

   3     determination whether or not the stay should be lifted.

   4                THE COURT:       Correct.

   5                MS. LIOU:       And then there are actions in which PG&E is

   6     the plaintiff.        For actions in which PG&E has initiated an

   7     action and there hasn't been any kind of determination about

   8     their ability to possess the land, my understanding from the

   9     clients is that notices of stay were not filed in those

  10     proceedings.        But I think the larger issue, Your Honor, is that

  11     I think counsel misconstrues the purpose of this motion.

  12                This motion is purely a procedural motion.                   It's not

  13     making a determination in this motion whether or not the stay

  14     does or does not apply.          To the extent that opposing counsel

  15     believes that for some reason the stay should not apply to a

  16     pending proceeding, then she is more than welcome to file a

  17     motion to seek relief from the stay or determination of the

  18     stay does not apply, which some individuals have already begun

  19     to do in this case.

  20                So we're not prejudicing those rights.                   And as you'll

  21     see, Your Honor, the proposed order includes revisions that

  22     makes that very clear.          And the language about PG&E being able

  23     to stipulate upon consent with another party to that

  24     transaction to lift the stay is, again, just meant to be a

  25     procedural mechanism so that we don't have to file a motion,

Case: 19-30088   Doc# 1352    Filed: 04/11/19   Entered: 04/11/19 16:17:35    Page 9 of
                                          42
                                                                                       10

                                 PG&E Corporation, et al.

   1    wait fourteen days, come before this Court, and then get

   2    another court order to approve a stipulation that both parties

   3    have consensually entered in to.

   4                THE COURT:     Well, I agree.

   5                MS. LIOU:     It isn't PG&E taking the unilateral ability

   6    to make a declaration that the stay does or does not apply in a

   7    particular instance.

   8                THE COURT:     Well, Ms. Renfro, what confused me was

   9    that your papers say about all this interference with your

  10    client's rights, and I couldn't tell what your client's rights

  11    are being interfered with.             So why don't we divide the world

  12    into cases where PG&E is the plaintiff and where it's not the

  13    plaintiff.

  14                MS. RENFRO:      Well, sure.       Your Honor, and I'm only

  15    interested myself, my clients are only interested in that

  16    bucket of cases where PG&E is the plaintiff.

  17                THE COURT:     So why don't we stop right there --

  18                MS. RENFRO:      Yes.

  19                THE COURT:     -- and say there should be no stay and

  20    nothing that PG&E, other counsel, or even current counsel is

  21    advocating that suggests that there's an automatic stay.

  22                MS. RENFRO:      Okay.      I would --

  23                THE COURT:     Can we solve the problem by just --

  24                MS. RENFRO:      That would get us a long distance of the

  25    way there.

Case: 19-30088   Doc# 1352   Filed: 04/11/19    Entered: 04/11/19 16:17:35   Page 10
                                       of 42
                                                                                      11

                                 PG&E Corporation, et al.

   1                THE COURT:     Is that a problem for you, Ms. Liou?

   2                MS. LIOU:     Yes, that is a problem for us, Your

   3    Honor --

   4                THE COURT:     All right.

   5                MS. LIOU:     -- because we don't think that that

   6    determination should be made in the context of this motion.

   7                THE COURT:     But there shouldn't -- your clients

   8    shouldn't have --

   9                MS. LIOU:     Well, Your Honor, let me pose a couple

  10    of --

  11                THE COURT:     -- said there's a notice of stay in the

  12    first place.

  13                MS. LIOU:     -- let me pose a couple of hypotheticals --

  14                THE COURT:     Well --

  15                MS. LIOU:     -- where the stay might apply, right --

  16                THE COURT:     Okay.

  17                MS. LIOU:     -- in looking at a case-by-case basis.

  18    Let's say, for example, PG&E initiated the initial action.

  19                THE COURT:     Um-hum.

  20                MS. LIOU:     A determination was made, and now the other

  21    party has appealed.        In that case --

  22                THE COURT:     There's still no stay.

  23                MS. LIOU:     -- the stay should apply if the other party

  24    is appealing.

  25                THE COURT:     No, it doesn't.        You're misconstruing the

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 11
                                       of 42
                                                                                      12

                                 PG&E Corporation, et al.

   1    law.     The law measures the stay as of the petition date, and --

   2    I mean, the initiation of the action, excuse me, initiation of

   3    the action.     So read the automatic stay.            The automatic stay

   4    says, you can't stay an action against the debtor or continuing

   5    against the debtor.        So if the debtor initiated the action and

   6    was successful, and the defendant wishes to appeal, there's no

   7    stay.     There never was one.

   8                MS. LIOU:     Well, in instances where, for example, then

   9    the debtors have entered into pre-petition settlement

  10    agreements, and now those parties are seeking to enforce

  11    payment on those --

  12                THE COURT:     That's different.

  13                MS. LIOU:     -- those are the subset of buckets that I'm

  14    aware of right now.

  15                THE COURT:     But look, if Ms. -- I'll personalize it

  16    because it's simpler to personalize it.               If Ms. Renfro is

  17    representing her client who believes that there's no stay that

  18    prohibits her client from defending an action, that's simple.

  19    That's the law.       If her client is being threatened with a levy

  20    of execution to recover a judgment or something, that

  21    implicates the stay not because of the original litigation, but

  22    rather whether she's trying to recover property from the

  23    debtor.

  24                So I guess I'm having trouble knowing where the stay

  25    would ever apply where she is representing the plaintiff, even

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 12
                                       of 42
                                                                                        13

                                 PG&E Corporation, et al.

   1    if -- I'm sorry, where PG&E is the plaintiff, even if now the

   2    other party is trying to appeal.             You follow me?

   3                MS. LIOU:     I follow you.       I'm just primarily concerned

   4    about the situation where -- admissions are made in, for

   5    example, the joinder to the motion that was filed, which was

   6    styled as a joinder but really a limited opposition because it

   7    was seeking relief outside the scope of the original --

   8                THE COURT:     Which one is that?         The 10 --

   9                MS. LIOU:     -- relief of the debtors requested.

  10                THE COURT:     -- is this 1075 or which --

  11                MS. LIOU:     Yeah.    It's docket number 1075.

  12                THE COURT:     That wasn't filed by Ms. Renfro.

  13                MS. LIOU:     No.

  14                MR. JENNY:     That's me, Your Honor.

  15                THE COURT:     Oh.

  16                MR. JENNY:     Scott Jenny appearing on behalf of the

  17    joinder.

  18                THE COURT:     Oh, Mr. Jenny, okay.

  19                MS. LIOU:     Where we have pre-petition settlement

  20    agreements and we filed notices of stay in those proceedings.

  21                MR. JENNY:     I have four eminent domain cases.             PG&E

  22    has taken possession, we litigated, we --

  23                THE COURT:     Who's the plaintiff?          Let's start with

  24    who's the plaintiff.

  25                MR. JENNY:     Pardon?

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 13
                                       of 42
                                                                                      14

                                 PG&E Corporation, et al.

   1                THE COURT:     Who's the plaintiff?

   2                MS. LIOU:     PG&E.

   3                MS. RENFRO:      PG&E.

   4                MR. JENNY:     PG&E is the plaintiff; no cross-

   5    complaints, an inverse, or anything.

   6                THE COURT:     So no automatic stay?

   7                MR. JENNY:     Solid, straightforward, eminent domain

   8    cases.

   9                THE COURT:     Okay.

  10                MR. JENNY:     We attended a JAMS (phonetic) mediation,

  11    but PG&E never signed the settlement agreements.

  12                THE COURT:     Okay.

  13                MR. JENNY:     So although we headed that way, they never

  14    executed the settlement documents --

  15                THE COURT:     Okay.

  16                MR. JENNY:     -- so we don't have a settlement, but

  17    Cesar Alegria, who is inhouse counsel for PG&E, filed stays in

  18    all four cases.

  19                THE COURT:     But that seems wrong.

  20                MR. JENNY:     Yes, sir.      So I had an order here to

  21    relieve stays.       Ms. Renfro is seeking broad --

  22                THE COURT:     It's not the question of -- well, okay.

  23                MR. JENNY:     Anyway, I'm seeking very specific relief

  24    just to my four cases.         I agree with Ms. Renfro's positions,

  25    but for me, I'm just looking for relief of stay in my four

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 14
                                       of 42
                                                                                           15

                                 PG&E Corporation, et al.

   1    cases.    So the cases could either settle or go to trial.                    My

   2    clients already have the projects on their property and haven't

   3    been paid.

   4                THE COURT:     But what are you going to do -- if the

   5    stay is out of your way, what happens?               What happens next?

   6                MR. JENNY:     We either go towards settlement --

   7                THE COURT:     I mean, forget mediation or --

   8                MR. JENNY:     Yeah.

   9                THE COURT:     -- consensual settlement.           Let's say

  10    there's no stay.       What happens next in your mind in your four

  11    cases?

  12                MR. JENNY:     Either PG&E agrees to settle the cases,

  13    and my numbers are lower than the pending PG&E motion, so we

  14    don't need to come back before you; they're not tremendously

  15    large cases.

  16                THE COURT:     Right.

  17                MR. JENNY:     Or we go to trial; that's it.

  18                THE COURT:     What would you do at trial?

  19                MR. JENNY:     Seek just compensation.

  20                THE COURT:     But you'd be -- it would be a trial of a

  21    defense of an eminent domain cases.

  22                MR. JENNY:     I would be --

  23                THE COURT:     So there's never been a stay.

  24                MR. JENNY:     There should never have been a stay, yes.

  25                THE COURT:     So why are we bogged down on this?

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 15
                                       of 42
                                                                                           16

                                 PG&E Corporation, et al.

   1                MS. LIOU:     Well, I think we're not bogged down.                What

   2    we're concerned about is that today in the context of a

   3    procedures motion, they're asking Your Honor to grant

   4    incredibly broad relief that says, in every single action where

   5    we have initiated an eminent domain proceeding, regardless of

   6    whether or not there are counterclaims, regardless of whether

   7    or not there are other issues at play, they want you to make a

   8    determination that the automatic stay does not apply.                   We just

   9    don't think that is appropriate.

  10                THE COURT:     Okay.       But now let's get to the specifics.

  11    If Mr. --

  12                MR. JENNY:     Jenny.

  13                THE COURT:     I'm sorry, Jenny.         I almost said Kenny.

  14    If Mr. Jenny's clients are procedurally are simply four

  15    defendants, not cross-complainants, four defendants, four

  16    actions initiated by PG&E, there are no stay implications.                     And

  17    they shouldn't be -- they and the trial judge shouldn't be

  18    confused by it.

  19                MR. JENNY:     And I raised it today in my joinder.                I

  20    mean I put it up before; I teed it up.

  21                THE COURT:     So can't we just give him an order that --

  22    like a comfort order that says there is no stay in effect, just

  23    to these four?

  24                MS. LIOU:     Your Honor, let me discuss that with my

  25    client before I --

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 16
                                       of 42
                                                                                      17

                                 PG&E Corporation, et al.

   1                THE COURT:     Well, no, discuss it with me, because to

   2    me there shouldn't have been a stay in the first place.

   3                MS. LIOU:     So let me just make sure I understand where

   4    you're going with this then.            Apart from this motion and the

   5    order on this motion, you're suggesting that we provide or

   6    submit to this Court a separate comfort order that deals with

   7    specifically these four actions and whether or not the stay

   8    applies to these eminent domain proceedings?

   9                THE COURT:     You're overstating the case.             I'll say it

  10    again.    You, correctly and efficiently, as PG&E has done in so

  11    many cases, have brought a whole basket of different kinds of

  12    things.    And that's fine, I'm all for solving lots of problems.

  13    But out of this universe of people implicated by today's

  14    omnibus motion, one lawyer representing four groups of people

  15    wants just to go forward with life in their world and doesn't

  16    want to be told that there even is a stay in favor of this

  17    Chapter 11 debtor.        And the answer is, and I know, and you

  18    know, there is no stay.

  19                MS. LIOU:     So how about we do this then.

  20                THE COURT:     How about we just --

  21                MS. LIOU:     We can withdraw the notices --

  22                THE COURT:     How about we just have an order that says

  23    there's no stay in these four cases?

  24                MS. LIOU:     I think that's what I --

  25                MR. JENNY:     I have that order, Your Honor.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 17
                                       of 42
                                                                                      18

                                 PG&E Corporation, et al.

   1                MS. RENFRO:      How about an order --

   2                THE COURT:     I'll come to yours --

   3                MS. LIOU:     Your Honor, I think that's what I

   4    suggested.

   5                THE COURT:     Slow down everybody.

   6                MS. LIOU:     Right.

   7                THE COURT:     I'll come to Ms. Renfro in a minute.

   8                MS. LIOU:     Well, I --

   9                THE COURT:     Finish your point, Ms. Liou.

  10                MS. LIOU:     Right.

  11                THE COURT:     What's wrong with doing that?

  12                MS. LIOU:     I think that's exactly what I suggested.

  13    So separate and apart from this proposed order on this real

  14    estate transactions motion, it sounds like we're submitting a

  15    separate comfort order with respect to just these four

  16    proceedings.

  17                THE COURT:     You're overstating the case by acting like

  18    it's a comfort order.         You could, if I tell you to, just file a

  19    notice there is no stay, but if you want an order, I don't mind

  20    doing it.     But it's not because I want to complicate it; it's

  21    because I know from experience state court judges don't

  22    understand the nuances of automatic stay, and I like to send

  23    state court judges a clear signal they're not implicated in the

  24    automatic stay at all.         So it's a comfort but it's a comfort

  25    for that judge as much as anything else.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 18
                                       of 42
                                                                                      19

                                 PG&E Corporation, et al.

   1                MS. LIOU:     Sure.    I will refrain from using the word

   2    "comfort order" then.         So the two choices ahead, as I see it --

   3    and you can tell me if you have a preference, Your Honor -- is

   4    that we could simply withdraw the notices of suggestion of stay

   5    in those proceedings, which saves time and money for everyone,

   6    or we can issue a separate order in this proceeding on the

   7    issue.

   8                THE COURT:     Okay.       Mr. Jenny, are you good enough?        Is

   9    it okay with you if they just file something -- a notice of

  10    withdrawal of notice of stay?

  11                MR. JENNY:     I'd rather have an order that there is no

  12    stay and hasn't been any stay.

  13                THE COURT:     Okay.

  14                MR. JENNY:     That would give me comfort, and I'm sure

  15    that has the magic word but I don't understand it.

  16                THE COURT:     I don't mind the word.

  17                MR. JENNY:     I don't understand the secret word.

  18                THE COURT:     Listen --

  19                MR. JENNY:     But it makes me more comfortable to walk

  20    out of here with an order.

  21                THE COURT:     I happen to be one of those people who

  22    believe in comfort orders because of what I said.                   Because

  23    there are folks out there in the real world who don't

  24    understand this crazy world we live in.               So it sounds like Ms.

  25    Liou is not opposed to this and we don't have to notice it.                   We

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 19
                                       of 42
                                                                                           20

                                 PG&E Corporation, et al.

   1    don't have to do anything.             For your four clients, there can be

   2    an order, or orders, that says in this matter of such and such

   3    and such, there is no stay in effect, period.

   4                MR. JENNY:     And I wrote an order to that effect.                I

   5    don't know how to present it.

   6                THE COURT:     Now, if you -- and then there is some

   7    mediation and a consensual resolution and PG&E is supposed to

   8    pay some money within the guidelines of these procedures,

   9    that's fine.     If it has to be treated in some other way, we'll

  10    treat it some other way.

  11                MR. JENNY:     Yes, sir.

  12                THE COURT:     Now, Ms. Renfro, how do we solve your

  13    problem?

  14                MR. JENNY:     My clients would also love to have that

  15    same comfort, Your Honor.

  16                THE COURT:     Is it the same alignment?            I mean, it --

  17    is it the same issue --

  18                MS. RENFRO:      Yeah, yeah.       Straightforward direct

  19    eminent domain cases where PG&E is the plaintiff.                    No

  20    counterclaims or cross-claims.

  21                THE COURT:     But what is -- procedurally, what's

  22    different between Mr. Jenny's four and yours?

  23                MS. RENFRO:      I don't know procedurally or not, the

  24    other objection that we had to the way the eminent domain cases

  25    in which PG&E is the plaintiff are being treated by the

Case: 19-30088   Doc# 1352   Filed: 04/11/19    Entered: 04/11/19 16:17:35   Page 20
                                       of 42
                                                                                      21

                                 PG&E Corporation, et al.

   1    proposed order by PG&E is this idea that over a certain dollar

   2    limit those cases are going to a committee or to the board for

   3    approval before we get to payment on settlement agreements or

   4    judgments, jury awards determining what just compensation is.

   5    And we did file a separate motion, but we discussed a little

   6    bit in our limited opposition here, the reason why those

   7    determinations of just compensation, something our clients are

   8    constitutionally entitled to be paid for interest where PG&E

   9    has already gone out, taken prejudgment possession, put

  10    infrastructure on their properties, that that should not be up

  11    for debate whether or not those folks are going to get paid.

  12                THE COURT:     It's not.      It's timing and method.         I

  13    mean --

  14                MS. RENFRO:      And expense and burden for our client.

  15                THE COURT:     Well, it may be, but look, PG&E owes

  16    billions of dollars, and they're trying to simplify the way it

  17    goes.     And one of the ways we do it in these complex cases is

  18    by having independent groups like the creditors' committee sign

  19    off on things with huge thresholds.              I mean, there are

  20    threshold levels in this case that wouldn't even -- would

  21    require full notice and hearings in smaller cases.                  And so the

  22    bigger the case, the more granularly you have to be in making

  23    things work sufficiently.          But I don't think it's any

  24    substantive due process or violation of the Constitution to ask

  25    your clients to wait a little bit to get paid.                 And so

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 21
                                       of 42
                                                                                          22

                                 PG&E Corporation, et al.

   1    that's -- and that was what I was reading in here.                  My

   2    goodness, it sounds like the end of the world here with this

   3    going to be done.       Really.

   4                MS. RENFRO:      Well, Your Honor, not the end of the

   5    world, but we have a system and we have procedural and

   6    substantive protection for the property owners.                 These are

   7    individuals who own property where PG&E has already gone out

   8    onto the property.        We need to be able to ensure that in a

   9    timely manner and without undue burden and expense, because

  10    every dollar our clients spend reduces their --

  11                THE COURT:     I agree.

  12                MS. RENFRO:      -- their just compensation.

  13                THE COURT:     I agree.      I agree.

  14                MS. RENFRO:      And we know the Court has --

  15                THE COURT:     And then the time we've had in this

  16    discussion we could have --

  17                MS. RENFRO:      Yeah.

  18                THE COURT:     -- it could be filed.          I mean, the point

  19    is, I'm not faulting you for filing your opposition here, but

  20    when I read it, I thought maybe I've got the wrong case.                      I

  21    mean, it sounded like somebody was sending you to jail.                   I

  22    mean, we have here -- the company is trying pay its debts to

  23    your client.

  24                MS. RENFRO:      Well, we'd like that too.          We would just

  25    like to save everyone the time and trouble of dealing with us

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 22
                                       of 42
                                                                                        23

                                  PG&E Corporation, et al.

   1    in the future on a case-by-case basis.

   2                THE COURT:      Ms. Liou, will you simplify this one, too,

   3    in your mind?        We simplified Mr. Jenny's four.            Is there a way

   4    that you could suggest that we could simplify this without

   5    implicating the Fifth Amendment of the Constitution and the

   6    denial of the due process?

   7                MS. RENFRO:       Well --

   8                MS. LIOU:      One suggestion I have, but I think it would

   9    require the input of the formal committee here, is it sounds

  10    like counsel is requesting that her proceedings be carved out

  11    of these procedures.

  12                THE COURT:      Well, but I mean, come on; work with me to

  13    come up with an efficient way to go.               What is the quickest way

  14    to let you and the lawyers on your side move on to the next

  15    problem and let Ms. Renfro and her clients go on with their

  16    life if there were no bankruptcy.              So give me a practical

  17    solution here.

  18                MS. LIOU:      I mean, the practical solution are these

  19    procedures that we've proposed, Your Honor.                 I mean, we have

  20    created streamline procedures so that we can get these matters

  21    before the relevant parties as soon as possible.                     If these are

  22    proceedings where there actually is some kind of judgment, I'm

  23    not sure that any of the formal committees are -- I mean, I

  24    can't speak for them; they're here in court today -- are going

  25    to take issue with PG&E honoring their commitments and paying

Case: 19-30088   Doc# 1352    Filed: 04/11/19   Entered: 04/11/19 16:17:35    Page 23
                                        of 42
                                                                                          24

                                 PG&E Corporation, et al.

   1    those post-petition judgments.

   2                MS. RENFRO:      Well, then maybe a carve-out is

   3    appropriate.     If those interests are represented in the

   4    courtroom here today --

   5                THE COURT:     Ma'am, you need to be closer to the

   6    microphone.     We're just not picking up in the microphone.

   7                MS. RENFRO:      Excuse me.      Well, then maybe a carve-out

   8    is appropriate for the eminent domain cases due to their kind

   9    of special nature.        And if we have the relevant interested

  10    parties in the courtroom today and they want to confirm that

  11    they will not have a problem with that, then let's not leave it

  12    to a process that's unnecessary.

  13                THE COURT:     Okay.       Let me just look at something.         I

  14    thought this was going to be simple, and maybe it still is and

  15    I'm just missing the point here.             What are the dollar amounts

  16    under your claims?        I mean, Mr. Jenny's are relatively small.

  17    Yours are relatively small too, aren't they?

  18                MS. RENFRO:      Well, ours vary.        And I want to say in

  19    the larger of the cases, we're talking about potentially up to

  20    a seven-million-dollar figure.

  21                THE COURT:     Oh, okay.

  22                MS. RENFRO:      I mean, the likely -- as these cases go,

  23    one appraiser says one thing and another says another, and we

  24    don't know where we will end up.

  25                THE COURT:     Correct.       I know, but it's not six

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 24
                                       of 42
                                                                                          25

                                 PG&E Corporation, et al.

   1    figures; it's seven.

   2                MS. RENFRO:      Sure, yeah.

   3                THE COURT:     Okay.       Well, I mean, I guess I'm resisting

   4    for the moment, a carve-out because carve-out means another

   5    round of getting something carved back in again.                    So have you

   6    seen the form of order that Ms. Liou has prepared?

   7                MS. RENFRO:      I've seen the form of order.             If this

   8    Court would be comfortable doing it, we have a motion that's on

   9    calendar for the 24th --

  10                THE COURT:     I know you do, and I'm trying to avoid

  11    that.

  12                MS. RENFRO:      Me too.      Me too, Your Honor.         But I mean,

  13    that's really what we want.            Is we want a carve-out for this

  14    category given that the compensation is fundamentally

  15    different.     These are not folks who voluntarily contracted.

  16    These are people who are entitled to this money.                    It's

  17    burdensome for them to participate in the --

  18                THE COURT:     No, but I asked if you saw those orders?

  19                MS. RENFRO:      I did.

  20                THE COURT:     What would you -- I mean, do you have some

  21    suggested changes?        I mean, is there something that would make

  22    that order more palatable to you?

  23                MS. RENFRO:      Well, I would simply revise it so that

  24    the eminent domain cases -- let's see, looking at page -- I

  25    mean --

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35    Page 25
                                       of 42
                                                                                       26

                                  PG&E Corporation, et al.

   1                THE COURT:      Well, let's not talk about the eminent

   2    domain cases.        Let's talk about your clients and what do we --

   3    you're not picking up some more are you?

   4                MS. RENFRO:       I don't know, Your Honor.

   5                THE COURT:      Okay.       Well, let's --

   6                MS. RENFRO:       I leave open the possibility and I'm --

   7                THE COURT:      And that's okay.        I didn't mean to imply

   8    that you can't go out and take care of more clients.                    I'm just

   9    saying the clients you speak for today, let's see if we can

  10    simplify solving their problems.              So do you have a suggestion

  11    on how it would get simplified?              Language-wise?      And I don't

  12    want to have another hearing; I'll do it.                I'll be here.

  13    You're the one that has to come to the hearing.                  I'm trying to

  14    make it simple so we can put this baby to bed.

  15                MS. RENFRO:       I suppose a paragraph accepting the

  16    specific cases, noting the specific cases, and we could lift

  17    some language from the proposed order we prepared on the other

  18    motion to put it in here.           I think trying to craft that on the

  19    fly for you here is difficult.             I'd certainly be happy to go in

  20    the hallway and try to work something out.                 But --

  21                THE COURT:      Well, let's see if Ms. Liou can do it.             I

  22    mean, Ms. Liou, what do you want -- do you want me to give you

  23    and Ms. Renfro a chance to work it out or do you want me to

  24    just kick this over to the 24th of April and we'll try to get

  25    it resolved then?        I mean, this looks like it's solvable, but I

Case: 19-30088   Doc# 1352    Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 26
                                        of 42
                                                                                        27

                                 PG&E Corporation, et al.

   1    don't know.     What do you want me to do?

   2                You've got some helpers from the creditors' committee?

   3                MR. KRELLER:      Good afternoon, Your Honor, Thomas

   4    Kreller of Milbank, LLP.

   5                THE COURT:     You've got a solution, Mr. Kreller?

   6                MR. KRELLER:      Unfortunately I don't, and for a few

   7    different reasons.        One is, obviously, I'm not sitting here

   8    with my committee of nine to make decisions that would carve a

   9    category that's a bit of an unknown certainly for me sitting

  10    here.    I'm not quite sure what we're carving out or what door

  11    we're opening for that carve-out to get bigger and bigger.                    And

  12    so it's hard to agree to anything today in a bit of a vacuum.

  13    And certainly not, ultimately without my client's input.

  14                THE COURT:     Okay.

  15                MR. KRELLER:      I think if we were to kick this over to

  16    the 24th, frankly, it does sound solvable to me, but from my

  17    perspective at least, I'd need some information and a little

  18    bit of time with my clients.

  19                THE COURT:     Okay.       So let me turn that around.        Ms.

  20    Liou, what about if we try this.             What if we continue the

  21    matters pertaining to Ms. Renfro's clients for all purposes

  22    from today's -- April 10th to April 24th, we separately do the

  23    order that -- well, the comfort orders that Mr. Jenny wanted

  24    for his clients, and then have your proposed order that's

  25    agreeable to Oakland and the municipalities and everybody else.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 27
                                       of 42
                                                                                         28

                                 PG&E Corporation, et al.

   1    And then we've got it all resolved, I think.

   2                And then between now and the 24th, if you and Ms.

   3    Renfro, with the participation of this committee, can get it

   4    resolved, we got it resolved, and if it's not I'll listen to

   5    the arguments and make a decision on the 24th.                 Does that work?

   6                MS. LIOU:     So I think that sounds like a great plan,

   7    but I want to clarify one thing.             So you will be entering the

   8    proposed order today, but we will preserve the Renfro issues

   9    for dealing with on the 24th, and if we needed to submit a

  10    modified proposed order at that point in time we could then do

  11    so, right?

  12                THE COURT:     Well, I have to confess to you, because as

  13    you know, I keep track of a lot of things.                And so I don't

  14    personally know exactly what the proposed order says.                   But it

  15    has to get modified slightly anyway to take Mr. Jenny's clients

  16    out of it.     And that's a separate order.            And it has to get Ms.

  17    Renfro's clients out of it.            So you have to take them out of

  18    the order, don't you?

  19                MS. LIOU:     Yes.     We can do that.

  20                THE COURT:     Yeah.       Well, I mean, I don't want to sign

  21    an order that disposes of her client's issues when they're not

  22    being disposed of.        So --

  23                MS. LIOU:     Um-hum.

  24                THE COURT:     -- I'm trying to give -- protect her

  25    clients but get you the benefit of finality for everybody else

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 28
                                       of 42
                                                                                      29

                                 PG&E Corporation, et al.

   1    in the universe who is impacted by today's --

   2                MS. LIOU:     Just to be clear, though, I think that Mr.

   3    Jenny's clients just wanted a determination that the automatic

   4    stay didn't apply.        And I don't think that that requires any

   5    change --

   6                THE COURT:     Okay.

   7                MS. LIOU:     -- to the proposed order.

   8                THE COURT:     Do you agree with that, Mr. Jenny?

   9                MS. RENFRO:      I don't agree with that.

  10                THE COURT:     Well, let Mr. Jenny --

  11                MS. RENFRO:      Okay.

  12                THE COURT:     Do you agree that if you get your nice

  13    little comfort order that you can show the superior court judge

  14    there's no stay, go forward, then you don't have any problem

  15    with the, sort of, administrative approach that the debtor has

  16    for the motion, generally?

  17                MR. JENNY:     Correct.      I'm here for four cases only,

  18    and as long as the -- I mean, the broader order, as I read it,

  19    does apply to me; as long as I have a more specific order, that

  20    carves me out.

  21                THE COURT:     Okay.

  22                MR. JENNY:     And I'm not sure how to present it to the

  23    Court.    I'm not sure how it works.

  24                THE COURT:     You're an electronic filer though, right?

  25                MR. JENNY:     Yes, sir.

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 29
                                       of 42
                                                                                        30

                                 PG&E Corporation, et al.

   1                THE COURT:     Then you just submit that order that you

   2    have, get Ms. Liou to sign off on it, and upload it for entry.

   3                MR. JENNY:     Yes, sir.

   4                THE COURT:     Okay.       So Ms. Renfro, don't we preserve

   5    your position by putting it over?             The order today -- Ms. Liou

   6    said will I sign it today; I may not sign it until tomorrow,

   7    but the point is, I'll sign it -- it won't affect your clients.

   8                MS. RENFRO:      Okay.     My only discomfort at the moment

   9    is with paragraph 13 of the proposed order, because that says

  10    to the extent applicable, the automatic stay shall be lifted

  11    with respect to eminent domain proceedings as necessary in

  12    instances where PG&E stipulates to lift the stay.                   And we've

  13    talked about, today, the fact that the automatic stay is not

  14    currently in effect --

  15                THE COURT:     Can we have --

  16                MS. RENFRO:      -- and should not be barring those cases.

  17                MS. LIOU:     The language says "to the extent" --

  18                THE COURT:     -- a footnote on the new order that says

  19    nothing in this order effects the following parties, and just

  20    name all your clients in a footnote and say that's the subject

  21    of a further order on the 24th?

  22                MS. RENFRO:      I'll take it, Your Honor.          That's fine.

  23                MR. KRELLER:      I'm on it.

  24                THE COURT:     Okay.       Do you want --

  25                MS. LIOU:     I'm sorry, Your Honor.          I just want to make

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 30
                                       of 42
                                                                                         31

                                  PG&E Corporation, et al.

   1    sure we're clear on this because I don't want parties to try to

   2    request broader relief than they were requesting earlier in

   3    this hearing.        So I just do want to point out that in paragraph

   4    13, it does start with "to the extent applicable".                   So no one

   5    is making any determination about applicability under this

   6    order.    No one's rights are being prejudiced under this order.

   7                MS. RENFRO:       It breeds confusion.         It breeds

   8    confusion, "to the extent applicable", but it's suggesting that

   9    the relief is necessary.

  10                THE COURT:      Yes, I agree with you.          It's confusing.

  11    What's wrong with putting something in this order that says

  12    nothing in this order applies to -- and naming all of Ms.

  13    Renfro's clients and --

  14                MS. LIOU:      I'm comfortable doing that --

  15                THE COURT:      -- all of Mr. Jenny's clients.

  16                MS. LIOU:      -- for Ms. Renfro's clients, but he did

  17    not --

  18                THE COURT:      I know he didn't.

  19                MS. LIOU:      Your Honor --

  20                THE COURT:      He didn't.

  21                MS. LIOU:      -- he didn't ask for that relief.

  22                THE COURT:      But I did.

  23                MS. LIOU:      Right?       He --

  24                MS. RENFRO:       He's a nice guy.

  25                MS. LIOU:      He only asked for a determination about

Case: 19-30088   Doc# 1352    Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 31
                                        of 42
                                                                                      32

                                 PG&E Corporation, et al.

   1    whether or not the stay applies to those proceedings, and

   2    now --

   3                THE COURT:     Ms. Liou?

   4                MS. LIOU:     -- we're expanding that.

   5                THE COURT:     Ms. Liou?       Ms. Liou?     I asked for it.

   6    Okay?

   7                MS. LIOU:     Okay.

   8                THE COURT:     My goal is to avoid confusion.             State

   9    court judges get confused when they're dragged into bankruptcy

  10    world.    I'm going to unconfuse them to the best that I can.

  11                Mr. Jenny?

  12                MR. JENNY:     Sir?

  13                THE COURT:     What would you like?          The same thing on a

  14    footnote?

  15                MR. JENNY:     Yes, sir, footnote me out.

  16                THE COURT:     But then you won't be governed by any

  17    footnote other -- or any order other than the new one that

  18    you're submitting.        Is that okay?

  19                MR. JENNY:     My new order -- yes, sir.           It will remove

  20    the stay.

  21                THE COURT:     Okay.       Okay.   Ms. Liou, again, your job is

  22    to tell me whether there's any downside other than just the

  23    mechanics of it.       Any problems with this?

  24                MS. LIOU:     Yeah.    I'll just state on the record that

  25    we oppose the fact that we are now carving out all of these

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 32
                                       of 42
                                                                                        33

                                 PG&E Corporation, et al.

   1    individuals, but we are obviously supportive of the entry of

   2    the rest of the order.

   3                THE COURT:     Yesterday, some of your colleagues asked

   4    me to sign an order that effects 10,000 people, and I said I'm

   5    not comfortable because I don't understand it.                 So we waited

   6    and we're going to have another hearing --

   7                MS. LIOU:     Right.

   8                THE COURT:     -- and I'm maybe going to solve it for

   9    10,000 people.       All I'm trying to do today is solve it for

  10    about twelve people, and so by not including them in an order

  11    that serves very, very broad purposes, it solves that problem.

  12                MS. LIOU:     I understand, Your Honor.

  13                THE COURT:     Okay.       All right.     Then to review the

  14    bidding, I'm going to get a revised blanket order from Ms. Liou

  15    for the benefit of everything that's affected by today's motion

  16    other than the two groups of people represented by the two

  17    other counsel here at the podium, and the new order will

  18    exclude those folks and there will be a separate series of

  19    orders for Mr. Jenny's seven (sic) people and four litigations

  20    and just a continuation.

  21                So the minutes will reflect the matters related to Ms.

  22    Renfro's clients are put over and will be dealt with on April

  23    24th.    And we have that as a calendar label on it.                And then,

  24    Ms. Renfro, with a little luck I won't see you on the 24th if

  25    it can get resolved with a little help from the creditors'

Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 33
                                       of 42
                                                                                      34

                                 PG&E Corporation, et al.

   1    committee.     Okay?

   2                MS. RENFRO:      Okay.

   3                MS. LIOU:     Thank you, Your Honor.

   4                THE COURT:     We good?      Everything okay?       Anyone else

   5    want to be heard on any subject?

   6                Okay.    Thank you for your time.          Good luck.

   7                MR. KRELLER:      Thank you, Your Honor.

   8         (Whereupon these proceedings were concluded at 2:04 PM)

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Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 34
                                       of 42
                                                                                      35

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   1                             C E R T I F I C A T I O N

   2

   3    I, Susan Patterson, certify that the foregoing transcript is a

   4    true and accurate record of the proceedings.

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   8    ________________________________________

   9    /s/ SUSAN PATTERSON, CDLT-174

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  15    Date:    April 11, 2019

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Case: 19-30088   Doc# 1352   Filed: 04/11/19   Entered: 04/11/19 16:17:35   Page 35
                                       of 42
PG&E CORPORATION AND PACIFIC                                                                                   Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                           April 10, 2019

                              9:1                    APRIL (6)                 bigger (3)                  21:20,22;22:20
            #              agreement (3)                4:1;26:24;27:22,22;       21:22;27:11,11        case-by-case (3)
                              7:4,24;8:2                33:22;35:15            billions (1)                9:2;11:17;23:1
#207 (1)                   agreements (4)            arguments (1)                21:16                 cases (34)
  35:12                       12:10;13:20;14:11;        28:5                   bit (5)                     6:10,22,25;7:1,13,
                              21:3                   around (1)                   21:6,25;27:9,12,18       14;10:12,16;13:21;
            /              agrees (1)                   27:19                  blanket (1)                 14:8,18,24;15:1,1,11,
                              15:12                  assigned (1)                 33:14                    12,15,21;17:11,23;
/s/ (1)                    ahead (1)                    6:23                   board (1)                   20:19,24;21:2,17,21;
   35:9                       19:2                   attended (1)                 21:2                     24:8,19,22;25:24;26:2,
                           Alegria (1)                  14:10                  bogged (2)                  16,16;29:17;30:16
           A                  14:17                  authority (1)                15:25;16:1            category (3)
                           alignment (1)                8:9                    both (2)                    8:6;25:14;27:9
ability (2)                   20:16                  authorization (1)            7:11;10:2             CDLT-174 (1)
   9:8;10:5                allow (1)                    8:4                    bothered (1)                35:9
able (2)                      7:12                   authorized (1)               6:18                  certain (3)
   9:22;22:8               almost (1)                   8:2                    breeds (2)                  4:23;5:10;21:1
accept (1)                    16:13                  automatic (14)               31:7,7                certainly (3)
   5:20                    although (1)                 6:6,8,10;7:1;10:21;    broad (3)                   26:19;27:9,13
accepting (1)                 14:13                     12:3,3;14:6;16:8;         14:21;16:4;33:11      certify (1)
   26:15                   Amendment (1)                18:22,24;29:3;30:10,   broader (2)                 35:3
accurate (1)                  23:5                      13                        29:18;31:2            Cesar (1)
   35:4                    among (1)                 avoid (2)                 brought (1)                 14:17
acting (1)                    5:8                       25:10;32:8                17:11                 chance (1)
   18:17                   amounts (1)               awards (1)                bucket (1)                  26:23
action (9)                    24:15                     21:4                      10:16                 change (1)
   6:5;9:7;11:18;12:2,3,   and/or (1)                aware (3)                 buckets (2)                 29:5
   4,5,18;16:4                4:20                      6:20;8:8;12:14            8:18;12:13            changes (2)
actions (9)                Andrew (1)                AZ (1)                    burden (2)                  5:11;25:21
   4:24;6:3;7:21;8:8,         4:15                      35:13                     21:14;22:9            Chapter (1)
   21;9:5,6;16:16;17:7     Apart (2)                                           burdensome (1)              17:17
actually (1)                  17:4;18:13                        B                 25:17                 choices (1)
   23:22                   Apparently (1)                                                                  19:2
addition (1)                  7:11                   baby (1)                              C            City (1)
   5:7                     appeal (2)                  26:14                                               5:5
administrative (1)            12:6;13:2              back (2)                  calendar (2)             claimants' (1)
   29:15                   appealed (1)                15:14;25:5                25:9;33:23                5:9
admissions (1)                11:21                  bankruptcy (4)            CALIFORNIA (2)           claims (2)
   13:4                    appealing (1)               7:4,8;23:16;32:9          4:1;5:4                   8:9;24:16
advocating (1)                11:24                  bar (2)                   Call (2)                 clarify (2)
   10:21                   appearing (2)               6:10;7:1                  4:3,11                    7:17;28:7
affect (1)                    5:23;13:16             barring (1)               can (17)                 clear (5)
   30:7                    applicability (1)           30:16                     5:19;7:17;10:23;          8:24;9:22;18:23;
affected (1)                  31:5                   based (2)                   17:21;19:3,6;20:1;        29:2;31:1
   33:15                   applicable (3)              6:25;7:25                 23:20;26:9,14,21;28:3, client (6)
afternoon (5)                 30:10;31:4,8           basis (2)                   19;29:13;30:15;32:10;     12:17,18,19;16:25;
   4:4,6,8;5:22;27:3       applies (4)                 11:17;23:1                33:25                     21:14;22:23
again (5)                     8:25;17:8;31:12;       basket (1)                care (1)                 clients (27)
   7:6;9:24;17:10;25:5;       32:1                     17:11                     26:8                      9:9;10:15;11:7;15:2;
   32:21                   apply (10)                bed (1)                   carve (1)                   16:14;20:1,14;21:7,25;
against (2)                   9:14,15,18;10:6;         26:14                     27:8                      22:10;23:15;26:2,8,9;
   12:4,5                     11:15,23;12:25;16:8;   begun (1)                 carved (2)                  27:18,21,24;28:15,17,
agencies (1)                  29:4,19                  9:18                      23:10;25:5                25;29:3;30:7,20;31:13,
   5:4                     appraiser (1)             behalf (3)                carve-out (6)               15,16;33:22
agenda (1)                    24:23                    5:23;6:24;13:16           24:2,7;25:4,4,13;      client's (4)
   4:11                    approach (1)              believes (2)                27:11                     10:10,10;27:13;
agree (11)                    29:15                    9:15;12:17              carves (1)                  28:21
   6:16;10:4;14:24;        appropriate (3)           benefit (2)                 29:20                  closer (1)
   22:11,13,13;27:12;         16:9;24:3,8              28:25;33:15             carving (2)                 24:5
   29:8,9,12;31:10         approval (2)              best (1)                    27:10;32:25            colleagues (1)
agreeable (1)                 4:20;21:3                32:10                   case (10)                   33:3
   27:25                   approve (1)               bidding (1)                 7:4;8:1,10;9:19;       comfort (12)
Agreed (1)                    10:2                     33:14                     11:21;17:9;18:17;         16:22;17:6;18:15,18,

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                               (1) #207 - comfort
      Case: 19-30088          Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                      operations@escribers.net Entered: 04/11/19 16:17:35                  Page 36
                                                      of 42
PG&E CORPORATION AND PACIFIC                                                                                   Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                           April 10, 2019

  24,24;19:2,14,22;       conversations (2)                                    discuss (2)                  4:24;5:25;6:22,23;
  20:15;27:23;29:13         7:2,25                               D               16:24;17:1                 7:14,20;13:21;14:7;
comfortable (4)           Corporation (1)                                      discussed (1)               15:21;16:5;17:8;20:19,
  19:19;25:8;31:14;         4:5                       date (2)                   21:5                       24;24:8;25:24;26:1;
  33:5                    correctly (1)                 12:1;35:15             discussion (1)               30:11
comments (1)                17:10                     days (1)                   22:16                   end (3)
  5:8                     counsel (12)                  10:1                   disposed (1)                 22:2,4;24:24
commitments (1)             4:7;6:23,25;7:3,10;       dealing (2)                28:22                   enforce (1)
  23:25                     9:11,14;10:20,20;           22:25;28:9             disposes (1)                 12:10
committee (10)              14:17;23:10;33:17         deals (1)                  28:21                   enough (1)
  4:20;5:9,9;21:2,18;     counterclaims (2)             17:6                   distance (1)                 19:8
  23:9;27:2,8;28:3;34:1     16:6;20:20                dealt (1)                  10:24                   ensure (1)
committees (1)            couple (2)                    33:22                  divide (2)                   22:8
  23:23                     11:9,13                   debate (1)                 8:13;10:11              enter (1)
company (1)               Court (151)                   21:11                  docket (5)                   4:17
  22:22                     4:3,4,8,13,15,20;5:2,     debtor (7)                 4:11,24,25;5:12;        entered (2)
compensation (5)            12,14,16;6:2,4,12,14,       6:5;12:4,5,5,23;         13:11                      10:3;12:9
  15:19;21:4,7;22:12;       17,20;7:6,8,15,18;8:3,      17:17;29:15            documents (1)             entering (1)
  25:14                     5,11,13,17,20,23;9:1,4;   debtors (8)                14:14                      28:7
complaints (1)              10:1,2,4,8,17,19,23;        4:7,16;5:7;7:22,25;    dollar (3)                entitled (2)
  14:5                      11:1,4,7,11,14,16,19,       8:2;12:9;13:9            21:1;22:10;24:15           21:8;25:16
complex (1)                 22,25;12:12,15;13:8,      debtor's (1)             dollars (1)               entry (2)
  21:17                     10,12,15,18,23;14:1,6,      4:12                     21:16                      30:2;33:1
complicate (1)              9,12,15,19,22;15:4,7,9,   debts (1)                domain (17)               eScribers (1)
  18:20                     16,18,20,23,25;16:10,       22:22                    4:24;6:1,22,23;7:14,       35:11
concerned (2)               13,21;17:1,6,9,20,22;     decision (1)               21;13:21;14:7;15:21;    establish (1)
  13:3;16:2                 18:2,5,7,9,11,17,21,23;     28:5                     16:5;17:8;20:19,24;        4:19
concluded (1)               19:8,13,16,18,21;20:6,    decisions (1)              24:8;25:24;26:2;30:11   estate (1)
  34:8                      12,16,21;21:12,15;          27:8                   done (2)                     18:14
confer (1)                  22:11,13,14,15,18;        declaration (2)            17:10;22:3              even (5)
  7:3                       23:2,12,24;24:5,13,21,      4:15;10:6              door (1)                     10:20;12:25;13:1;
confess (1)                 25;25:3,8,10,18,20;       defendant (1)              27:10                      17:16;21:20
  28:12                     26:1,5,7,21;27:5,14,19;     12:6                   down (3)                  evening (1)
confirm (1)                 28:12,20,24;29:6,8,10,    defendants (3)             15:25;16:1;18:5            5:12
  24:10                     12,13,21,23,24;30:1,4,      8:22;16:15,15          downside (1)              everybody (3)
confused (3)                15,18,24;31:10,15,18,     defending (1)              32:22                      18:5;27:25;28:25
  10:8;16:18;32:9           20,22;32:3,5,8,9,13,16,     12:18                  dragged (1)               everyone (2)
confusing (1)               21;33:3,8,13;34:4         defense (1)                32:9                       19:5;22:25
  31:10                   courtroom (2)                 15:21                  due (3)                   exactly (2)
confusion (3)               24:4,10                   denial (1)                 21:24;23:6;24:8            18:12;28:14
  31:7,8;32:8             covering (1)                  23:6                                             example (3)
consensual (2)              8:5                       Desmond (1)                         E                 11:18;12:8;13:5
  15:9;20:7               CPUC (1)                      5:23                                             exclude (1)
consensually (1)            5:10                      determination (10)       earlier (1)                  33:18
  10:3                    craft (1)                     9:3,7,13,17;11:6,20;      31:2                   excuse (2)
consent (1)                 26:18                       16:8;29:3;31:5,25      effect (4)                   12:2;24:7
  9:23                    crazy (1)                   determinations (1)          16:22;20:3,4;30:14     executed (2)
Constitution (2)            19:24                       21:7                   effects (2)                  7:24;14:14
  21:24;23:5              created (1)                 determine (1)               30:19;33:4             execution (1)
constitutionally (1)        23:20                       7:13                   efficient (1)                12:20
  21:8                    creditors' (4)              determining (2)             23:13                  expanding (1)
consummate (1)              5:9;21:18;27:2;             4:19;21:4              efficiently (1)              32:4
  4:17                      33:25                     DF (1)                      17:10                  expense (2)
context (2)               cross- (1)                    5:24                   efforts (1)                  21:14;22:9
  11:6;16:2                 14:4                      different (6)               7:3                    experience (1)
continuation (1)          cross-claims (1)              6:17;12:12;17:11;      either (3)                   18:21
  33:20                     20:20                       20:22;25:15;27:7          15:1,6,12              extent (5)
continue (2)              cross-complainants (1)      difficult (1)            electronic (1)               9:14;30:10,17;31:4,8
  4:17;27:20                16:15                       26:19                     29:24
continuing (1)            current (1)                 direct (1)               else (4)                             F
  12:4                      10:20                       20:18                     18:25;27:25;28:25;
contracted (1)            currently (1)               discomfort (1)              34:4                   fact (3)
  25:15                     30:14                       30:8                   eminent (17)                6:21;30:13;32:25

Min-U-Script®                                   eScribers, LLC | (973) 406-2250                             (2) comfortable - fact
     Case: 19-30088          Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                     operations@escribers.net Entered: 04/11/19 16:17:35                   Page 37
                                                    of 42
PG&E CORPORATION AND PACIFIC                                                                                      Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                              April 10, 2019

faulting (1)                 fourteen (1)              happy (1)                  inform (1)                Jenny's (8)
   22:19                       10:1                      26:19                       4:22                      16:14;20:22;23:3;
favor (1)                    FRANCISCO (1)             hard (1)                   informal (1)                 24:16;28:15;29:3;
   17:16                       4:1                       27:12                       5:8                       31:15;33:19
few (1)                      frankly (1)               headed (1)                 information (1)           Jessica (1)
   27:6                        27:16                     14:13                       27:17                     4:6
Fifth (1)                    full (1)                  heard (2)                  infrastructure (1)        job (1)
   23:5                        21:21                     5:16;34:5                   21:10                     32:21
figure (1)                   fully (2)                 hearing (4)                inhouse (1)               joinder (5)
   24:20                       5:4,6                     26:12,13;31:3;33:6          14:17                     4:25;13:5,6,17;16:19
figures (1)                  fundamentally (1)         hearings (1)               initial (1)               judge (3)
   25:1                        25:14                     21:21                       11:18                     16:17;18:25;29:13
file (5)                     further (1)               help (1)                   initiated (7)             judges (3)
   9:16,25;18:18;19:9;         30:21                     33:25                       6:15;7:20;9:6;11:18;      18:21,23;32:9
   21:5                      future (1)                helpers (1)                   12:5;16:5,16           judgment (2)
filed (17)                     23:1                      27:2                     initiation (2)               12:20;23:22
   4:14,23,25;5:3,5,12,                                Hold (1)                      12:2,2                 judgments (2)
   24;6:5,21;7:21;8:8;9:9;              G                6:12                     input (2)                    21:4;24:1
   13:5,12,20;14:17;                                   Honor (30)                    23:9;27:13             jury (1)
   22:18                     generally (1)               4:6,16,22;5:22;6:9,      instance (1)                 21:4
filer (1)                      29:16                     16;7:17;9:10,21;10:14;      10:7
   29:24                     given (1)                   11:3,9;13:14;16:3,24;    instances (2)                        K
filing (1)                     25:14                     17:25;18:3;19:3;20:15;      12:8;30:12
   22:19                     goal (1)                    22:4;23:19;25:12;26:4;   interest (1)              keep (1)
finality (1)                   32:8                      27:3;30:22,25;31:19;        21:8                     28:13
   28:25                     goes (1)                    33:12;34:3,7             interested (3)            Kenny (1)
fine (3)                       21:17                   honoring (1)                  10:15,15;24:9            16:13
   17:12;20:9;30:22          Good (9)                    23:25                    interests (2)             kick (2)
Finish (1)                     4:4,5,8;5:20,22;19:8;   huge (1)                      4:18;24:3                26:24;27:15
   18:9                        27:3;34:4,6               21:19                    interfered (1)            kind (4)
firm (1)                     goodness (1)              hypotheticals (1)             10:11                    8:10;9:7;23:22;24:8
   5:23                        22:2                      11:13                    interference (1)          kinds (1)
first (3)                    Gotshal (1)                                             10:9                     17:11
   7:19;11:12;17:2             4:7                                 I              into (5)                  knowing (1)
fly (1)                      governed (1)                                            4:17;8:14;10:12;         12:24
   26:19                       32:16                   idea (1)                      12:9;32:9              KRELLER (7)
folks (4)                    grant (1)                   21:1                     inverse (1)                 27:3,4,5,6,15;30:23;
   19:23;21:11;25:15;          16:3                    identification (1)            14:5                     34:7
   33:18                     granularly (1)              5:18                     involved (1)              Kristen (1)
follow (2)                     21:22                   impacted (1)                  7:13                     5:22
   13:2,3                    great (1)                   29:1                     issue (9)
following (1)                  28:6                    impediment (1)                6:6,6,7,9;9:10;19:6,              L
   30:19                     groups (3)                  7:9                         7;20:17;23:25
footnote (5)                   17:14;21:18;33:16       implicated (2)             issues (3)                label (1)
   30:18,20;32:14,15,        guess (3)                   17:13;18:23                 16:7;28:8,21             33:23
   17                          5:15;12:24;25:3         implicates (1)             item (1)                  land (2)
foregoing (1)                guidelines (1)              12:21                       4:10                     7:23;9:8
   35:3                        20:8                    implicating (1)                                      landlords (1)
forget (1)                   guy (1)                     23:5                                 J               5:10
   15:7                        31:24                   implications (1)                                     language (3)
form (2)                                                 16:16                    jail (1)                    9:22;26:17;30:17
   25:6,7                               H              imply (1)                     22:21                  Language-wise (1)
formal (4)                                               26:7                     JAMS (1)                    26:11
   4:23;5:7;23:9,23          hallway (1)               includes (1)                  14:10                  large (1)
forward (4)                    26:20                     9:21                     JENNY (44)                  15:15
   4:10;5:18;17:15;          handles (1)               including (1)                 13:14,16,16,18,21,     larger (2)
   29:14                       6:22                      33:10                       25;14:4,7,10,13,16,20,   9:10;24:19
four (19)                    happen (1)                incredibly (1)                23;15:6,8,12,17,19,22, law (4)
   4:22;13:21;14:18,24,        19:21                     16:4                        24;16:12,12,13,19;       5:23;12:1,1,19
   25;15:10;16:14,15,15,     happening (1)             independent (1)               17:25;19:8,11,14,17,   lawyer (1)
   23;17:7,14,23;18:15;        6:24                      21:18                       19;20:4,11,14;27:23;     17:14
   20:1,22;23:3;29:17;       happens (3)               individuals (3)               29:8,10,17,22,25;30:3; lawyers (3)
   33:19                       15:5,5,10                 9:18;22:7;33:1              32:11,12,15,19           7:6,8;23:14

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      Case: 19-30088            Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                        operations@escribers.net Entered: 04/11/19 16:17:35                   Page 38
                                                       of 42
PG&E CORPORATION AND PACIFIC                                                                                      Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                              April 10, 2019

least (1)                    lot (1)                     24:6,6                     30:18;32:17,19;           27:11
   27:17                        28:13                  might (1)                    33:17                   operates (1)
leave (2)                    lots (1)                    11:15                    next (3)                    6:10
   24:11;26:6                   17:12                  Milbank (1)                  15:5,10;23:14           oppose (1)
left (1)                     love (1)                    27:4                     nice (2)                    32:25
   4:8                          20:14                  mind (4)                     29:12;31:24             opposed (1)
levels (1)                   lower (1)                   15:10;18:19;19:16;       nine (1)                    19:25
   21:20                        15:13                    23:3                       27:8                    opposing (1)
levy (1)                     luck (2)                  minute (1)                 nonissue (1)                9:14
   12:19                        33:24;34:6               18:7                       7:16                    opposition (5)
lienholders (1)                                        minutes (1)                noted (1)                   4:24;5:25;13:6;21:6;
   5:10                                 M                33:21                      5:11                      22:19
life (2)                                               misconstrues (1)           notice (6)                order (57)
   17:15;23:16               Ma'am (1)                   9:11                       11:11;18:19;19:9,10,      4:3;7:5,12;9:21;
lift (3)                       24:5                    misconstruing (1)            25;21:21                  10:2;14:20;16:21,22;
   9:24;26:16;30:12          magic (1)                   11:25                    notices (7)                 17:5,6,22,25;18:1,13,
lifted (2)                     19:15                   missing (1)                  6:21;7:21;8:8;9:9;        15,18,19;19:2,6,11,20;
   9:3;30:10                 makes (2)                   24:15                      13:20;17:21;19:4          20:2,4;21:1;25:6,7,22;
likely (1)                     9:22;19:19              modified (2)               noting (1)                  26:17;27:23,24;28:8,
   24:22                     making (3)                  28:10,15                   26:16                     10,14,16,18,21;29:7,
limit (1)                      9:13;21:22;31:5         moment (2)                 nuances (1)                 13,18,19;30:1,5,9,18,
   21:2                      Manges (1)                  25:4;30:8                  18:22                     19,21;31:6,6,11,12;
limited (4)                    4:7                     Monday (1)                 number (7)                  32:17,19;33:2,4,10,14,
   4:24;5:24;13:6;21:6       manner (1)                  5:12                       4:11,25,25;5:8,13;        17
LIOU (81)                      22:9                    money (3)                    7:19;13:11              orders (5)
   4:5,6,10,14;5:3;7:15,     many (1)                    19:5;20:8;25:16          numbers (1)                 19:22;20:2;25:18;
   17,19;8:7,12,16,18,21,      17:11                   more (7)                     15:13                     27:23;33:19
   24;9:2,5;10:5;11:1,2,5,   Matter (3)                  9:16;19:19;21:22;                                  original (2)
   9,13,15,17,20,23;12:8,      4:5;6:15;20:2             25:22;26:3,8;29:19                  O                12:21;13:7
   13;13:3,9,11,13,19;       matters (4)               motion (28)                                          ours (1)
   14:2;16:1,24;17:3,19,       6:24;23:20;27:21;         4:12,14,16,21,23,25;     Oakland (2)                 24:18
   21,24;18:3,6,8,9,10,12;     33:21                    5:25;6:9,18;9:11,12,12,      5:5;27:25              out (19)
   19:1,25;23:2,8,18;        may (3)                     13,17,25;11:6;13:5;      objection (2)               5:19;15:5;17:13;
   25:6;26:21,22;27:20;        4:16;21:15;30:6           15:13;16:3;17:4,5,14;       5:17;20:24               19:20,23;21:9;22:7;
   28:6,19,23;29:2,7;30:2,   maybe (6)                   18:14;21:5;25:8;26:18;   obviously (2)               23:10;26:8,20,23;
   5,17,25;31:14,16,19,        6:12;22:20;24:2,7,        29:16;33:15                 27:7;33:1                27:10;28:16,17,17;
   21,23,25;32:3,4,5,5,7,      14;33:8                 move (1)                   off (3)                     29:20;31:3;32:15,25
   21,24;33:7,12,14;34:3     mean (26)                   23:14                       7:19;21:19;30:2        outside (3)
Listen (2)                     6:5;12:2;15:7;16:20;    moving (1)                 office (1)                  6:23;7:9;13:7
   19:18;28:4                  20:16;21:13,19;22:18,     4:10                        6:22                   over (5)
litigated (1)                  21,22;23:12,18,19,23;   much (2)                   omnibus (1)                 21:1;26:24;27:15;
   13:22                       24:16,22;25:3,12,20,      4:8;18:25                   17:14                    30:5;33:22
litigation (1)                 21,25;26:7,22,25;       municipalities (1)         one (14)                  overstating (2)
   12:21                       28:20;29:18               27:25                       12:7;13:8;17:14;         17:9;18:17
litigations (1)              means (1)                 myself (1)                    19:21;21:17;23:2,8;    owes (1)
   33:19                       25:4                      10:15                       24:23,23;26:13;27:7;     21:15
little (6)                   meant (2)                                               28:7;31:4;32:17        own (1)
   21:5,25;27:17;29:13;        8:9;9:24                           N               ones (1)                    22:7
   33:24,25                  measures (1)                                            7:21                   owners (3)
live (1)                       12:1                    name (2)                   one's (1)                   4:24;5:24;22:6
   19:24                     mechanics (1)               5:18;30:20                  31:6
LLP (1)                        32:23                   naming (2)                 ongoing (1)                          P
   27:4                      mechanism (1)               7:6;31:12                   5:17
long (3)                       9:25                    nature (1)                 only (6)                  page (1)
   10:24;29:18,19            mediation (3)               24:9                        4:10;10:14,15;29:17;     25:24
look (3)                       14:10;15:7;20:7         necessary (2)                 30:8;31:25             paid (4)
   12:15;21:15;24:13         meet-and- (1)               30:11;31:9               onto (1)                    15:3;21:8,11,25
looked (1)                     7:2                     need (4)                      22:8                   palatable (1)
   5:15                      message (1)                 15:14;22:8;24:5;         oOo- (1)                    25:22
looking (3)                    7:10                      27:17                       4:2                    papers (1)
   11:17;14:25;25:24         method (1)                needed (1)                 open (1)                    10:9
looks (1)                      21:12                     28:9                        26:6                   paragraph (3)
   26:25                     microphone (2)            new (4)                    opening (1)                 26:15;30:9;31:3

Min-U-Script®                                     eScribers, LLC | (973) 406-2250                               (4) least - paragraph
      Case: 19-30088            Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                        operations@escribers.net Entered: 04/11/19 16:17:35                   Page 39
                                                       of 42
PG&E CORPORATION AND PACIFIC                                                                                   Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                           April 10, 2019

Pardon (1)                    10:12,13,16;12:25;        10:23;11:1,2;20:13;                                 14,17,24;23:7,15;24:2,
  13:25                       13:1,23,24;14:1,4;        23:15;24:11;29:14;                 R                7,18,22;25:2,7,12,19,
participate (1)               20:19,25                  33:11                                              23;26:4,6,15,23;28:3,8;
  25:17                     plaintiffs (1)            problems (3)               raised (1)                 29:9,11;30:4,8,16,22;
participation (1)             7:20                      17:12;26:10;32:23          16:19                    31:7,24;33:24;34:2
  28:3                      plan (1)                  procedural (3)             raising (1)             Renfro's (6)
particular (1)                28:6                      9:12,25;22:5               6:5                      14:24;27:21;28:17;
  10:7                      play (1)                  procedurally (3)           rather (2)                 31:13,16;33:22
parties (9)                   16:7                      16:14;20:21,23             12:22;19:11           representations (1)
  5:9;7:24;8:10;10:2;       Please (1)                procedures (6)             read (3)                   6:25
  12:10;23:21;24:10;          4:4                       4:19;16:3;20:8;            12:3;22:20;29:18      represented (2)
  30:19;31:1                PM (2)                      23:11,19,20              reading (1)                24:3;33:16
party (4)                     4:1;34:8                proceeding (3)               22:1                  representing (3)
  9:23;11:21,23;13:2        podium (1)                  9:16;16:5;19:6           real (5)                   12:17,25;17:14
Patterson (2)                 33:17                   proceedings (14)             4:12,18;5:15;18:13;   request (1)
  35:3,9                    point (8)                   7:1,20,22;9:10;            19:23                    31:2
pay (3)                       6:7;7:4;18:9;22:18;       13:20;17:8;18:16;19:5;   really (4)              requested (1)
  8:9;20:8;22:22              24:15;28:10;30:7;31:3     23:10,22;30:11;32:1;       8:18;13:6;22:3;          13:9
paying (1)                  pose (2)                    34:8;35:4                  25:13                 requesting (2)
  23:25                       11:9,13                 process (3)                reason (2)                 23:10;31:2
payment (3)                 position (1)                21:24;23:6;24:12           9:15;21:6             require (3)
  8:3;12:11;21:3              30:5                    produced (1)               reasons (1)                4:20;21:21;23:9
pending (2)                 positions (1)               7:4                        27:7                  requires (1)
  9:16;15:13                  14:24                   prohibits (1)              received (1)               29:4
people (9)                  possess (1)                 12:18                      5:8                   resisting (1)
  17:13,14;19:21;             9:8                     projects (1)               record (3)                 25:3
  25:16;33:4,9,10,16,19     possession (3)              15:2                       4:6;32:24;35:4        resolution (1)
perhaps (1)                   7:23;13:22;21:9         Properties (2)             recover (2)                20:7
  7:10                      possibility (1)             5:24;21:10                 12:20,22              resolved (9)
period (1)                    26:6                    property (9)               redline (1)                5:4,6,11,17;26:25;
  20:3                      possible (1)                4:12,18,23;5:24;           5:11                     28:1,4,4;33:25
personalize (2)               23:21                     12:22;15:2;22:6,7,8      reduces (1)             respect (3)
  12:15,16                  post-petition (1)         proposed (12)                22:10                    8:12;18:15;30:11
personally (1)                24:1                      7:11;9:21;18:13;         reflect (1)             response (2)
  28:14                     potential (1)               21:1;23:19;26:17;          33:21                    5:3,5
perspective (1)               5:10                      27:24;28:8,10,14;29:7;   refrain (1)             responses (2)
  27:17                     potentially (1)             30:9                       19:1                     4:23;5:7
pertaining (1)                24:19                   protect (1)                regardless (2)          rest (1)
  27:21                     practical (2)               28:24                      16:5,6                   33:2
petition (1)                  23:16,18                protection (1)             related (1)             review (2)
  12:1                      preference (1)              22:6                       33:21                    4:20;33:13
PG&E (39)                     19:3                    provide (1)                relating (1)            reviewed (1)
  4:5;6:11,15,24;7:3,8,     prejudgment (1)             17:5                       4:18                     5:19
  12,12,20;8:14,21;9:5,6,     21:9                    purely (1)                 relative (1)            revise (1)
  22;10:5,12,16,20;         prejudiced (1)              9:12                       5:25                     25:23
  11:18;13:1,21;14:2,3,4,     31:6                    purpose (1)                relatively (2)          revised (1)
  11,17;15:12,13;16:16;     prejudicing (1)             9:11                       24:16,17                 33:14
  17:10;20:7,19,25;21:1,      9:20                    purposes (2)               relevant (2)            revisions (1)
  8,15;22:7;23:25;30:12     prepared (2)                27:21;33:11                23:21;24:9               9:21
PG&E's (1)                    25:6;26:17              put (5)                    relief (11)             right (17)
  6:25                      pre-petition (4)            16:20;21:9;26:14,18;       6:9;7:14;9:17;13:7,      4:13;5:14;6:2;8:19,
Phoenix (1)                   7:23;8:1;12:9;13:19       33:22                      9;14:23,25;16:4;31:2,    23;10:17;11:4,15;
  35:13                     present (2)               putting (2)                  9,21                     12:14;15:16;18:6,10;
phone (1)                     20:5;29:22                30:5;31:11               relieve (1)                28:11;29:24;31:23;
  5:16                      preserve (2)                                           14:21                    33:7,13
phonetic (1)                  28:8;30:4                          Q               remove (1)              rights (4)
  14:10                     presupposes (1)                                        32:19                    9:20;10:10,10;31:6
picking (2)                   6:10                    quickest (1)               RENFRO (57)             round (1)
  24:6;26:3                 pretty (2)                  23:13                      5:22,23;6:3,8,13,16,     25:5
place (2)                     4:20;8:24               quite (1)                    20;7:7,11;8:5;10:8,14,
  11:12;17:2                primarily (1)               27:10                      18,22,24;12:16;13:12;           S
plaintiff (16)                13:3                                                 14:3,21;18:1,7;20:12,
  6:11;8:14,15,17;9:6;      problem (8)                                            18,23;21:14;22:4,12,   Sacramento (1)

Min-U-Script®                                    eScribers, LLC | (973) 406-2250                         (5) Pardon - Sacramento
     Case: 19-30088            Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                       operations@escribers.net Entered: 04/11/19 16:17:35                 Page 40
                                                      of 42
PG&E CORPORATION AND PACIFIC                                                                                     Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                                             April 10, 2019

   5:23                       18:23                      29:19                      21:23                  today (14)
same (4)                   signed (1)                 specifically (1)            suggest (1)                 4:10,15;16:2,19;
   20:15,16,17;32:13          14:11                      17:7                       23:4                      23:24;24:4,10;26:9;
SAN (1)                    simple (4)                 specifics (1)               suggested (3)               27:12;28:8;30:5,6,13;
   4:1                        5:15;12:18;24:14;          16:10                      18:4,12;25:21             33:9
save (1)                      26:14                   spend (1)                   suggesting (2)           today's (4)
   22:25                   simpler (1)                   22:10                      17:5;31:8                 17:13;27:22;29:1;
saves (1)                     12:16                   standstill (1)              suggestion (3)              33:15
   19:5                    simplified (2)                7:2                        19:4;23:8;26:10        told (1)
saw (1)                       23:3;26:11              start (2)                   suggests (1)                17:16
   25:18                   simplify (4)                  13:23;31:4                 10:21                  tomorrow (1)
saying (1)                    21:16;23:2,4;26:10      State (6)                   Suite (1)                   30:6
   26:9                    simply (3)                    5:4;6:12;18:21,23;         35:12                  towards (1)
scope (1)                     16:14;19:4;25:23           32:8,24                  superior (1)                15:6
   13:7                    single (1)                 stay (63)                     29:13                  track (1)
Scott (1)                     16:4                       6:6,8,10,14,21;7:1,9,    support (1)                 28:13
   13:16                   sitting (2)                   14,22;8:8,25;9:3,9,13,     4:14                   transaction (1)
seated (1)                    27:7,9                     15,17,18,24;10:6,19,     supportive (1)              9:24
   4:4                     situation (1)                 21;11:11,15,22,23;         33:1                   transactions (4)
secret (1)                    13:4                       12:1,3,3,4,7,17,21,24;   suppose (1)                 4:12,18,19;18:14
   19:17                   six (1)                       13:20;14:6,25;15:5,10,     26:15                  transcript (1)
seek (3)                      24:25                      23,24;16:8,16,22;17:2,   supposed (1)                35:3
   8:3;9:17;15:19          slightly (1)                  7,16,18,23;18:19,22,       20:7                   treat (1)
seeking (6)                   28:15                      24;19:4,10,12,12;20:3;   Sure (13)                   20:10
   4:17;6:9;12:10;13:7;    Slow (1)                      29:4,14;30:10,12,13;       6:13;7:7;8:7;10:14;    treated (2)
   14:21,23                   18:5                       32:1,20                    17:3;19:1,14;23:23;       20:9,25
seems (1)                  small (2)                  stays (2)                     25:2;27:10;29:22,23;   treatment (1)
   14:19                      24:16,17                   14:17,21                   31:1                      5:25
send (1)                   smaller (1)                still (4)                   Susan (2)                tremendously (1)
   18:22                      21:21                      6:7;7:9;11:22;24:14        35:3,9                    15:14
sending (1)                Solid (1)                  stipulate (1)               system (1)               trial (5)
   22:21                      14:7                       9:23                       22:5                      15:1,17,18,20;16:17
separate (7)               solution (3)               stipulates (1)                                       trouble (2)
   17:6;18:13,15;19:6;        23:17,18;27:5              30:12                              T                 12:24;22:25
   21:5;28:16;33:18        solvable (2)               stipulation (1)                                      true (1)
separately (2)                26:25;27:16                10:2                     talk (2)                    35:4
   5:20;27:22              solve (4)                  stop (1)                       26:1,2                try (5)
series (1)                    10:23;20:12;33:8,9         10:17                    talked (1)                  6:17;26:20,24;27:20;
   33:18                   solves (1)                 straightened (1)               30:13                    31:1
serves (1)                    33:11                      5:19                     talking (1)              trying (9)
   33:11                   solving (2)                straightforward (3)            24:19                    12:22;13:2;21:16;
settle (2)                    17:12;26:10                4:21;14:7;20:18          teed (1)                    22:22;25:10;26:13,18;
   15:1,12                 somebody (1)               streamline (1)                 16:20                    28:24;33:9
settlement (10)               22:21                      23:20                    terms (1)                turn (1)
   7:24;8:1;12:9;13:19;    soon (1)                   Street (1)                     7:13                     27:19
   14:11,14,16;15:6,9;        23:21                      35:12                    Thomas (1)               twelve (1)
   21:3                    sorry (3)                  styled (1)                     27:3                     33:10
seven (2)                     13:1;16:13;30:25           13:6                     though (2)               two (3)
   25:1;33:19              sort (1)                   subject (2)                    29:2,24                  19:2;33:16,16
seven-million-dollar (1)      29:15                      30:20;34:5               thought (2)
   24:20                   sound (1)                  submit (3)                     22:20;24:14                      U
shall (1)                     27:16                      17:6;28:9;30:1           threatened (1)
   30:10                   sounded (2)                submitted (1)                  12:19                 ultimately (1)
show (1)                      5:14;22:21                 7:12                     three (1)                  27:13
   29:13                   sounds (5)                 submitting (2)                 8:18                  Um-hum (2)
sic (1)                       18:14;19:24;22:2;          18:14;32:18              threshold (1)              11:19;28:23
   33:19                      23:9;28:6               subset (1)                     21:20                 unconfuse (1)
side (1)                   speak (2)                     12:13                    thresholds (1)             32:10
   23:14                      23:24;26:9              substantive (2)                21:19                 under (3)
sign (7)                   special (1)                   21:24;22:6               timely (1)                 24:16;31:5,6
   21:18;28:20;30:2,6,        24:9                    successful (1)                 22:9                  undue (1)
   6,7;33:4                specific (4)                  12:6                     timing (1)                 22:9
signal (1)                    14:23;26:16,16;         sufficiently (1)               21:12                 Unfortunately (1)

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     Case: 19-30088           Doc# 1352    Filed: 04/11/19 | www.escribers.net
                                      operations@escribers.net Entered: 04/11/19 16:17:35                    Page 41
                                                     of 42
PG&E CORPORATION AND PACIFIC                                                                  Case No. 19-30088
GAS AND ELECTRIC COMPANY                                                                          April 10, 2019

  27:6                       34:8                      35:12
unilateral (1)             whole (1)
  10:5                       17:11                               2
universe (2)               wholeheartedly (1)
  17:13;29:1                 6:16                    2:04 (1)
unknown (1)                who's (4)                   34:8
  27:9                       4:15;13:23,24;14:1      2019 (2)
unless (1)                 Williams (1)                4:1;35:15
  8:3                        4:15                    24th (10)
unnecessary (1)            wishes (2)                  25:9;26:24;27:16,22;
  24:12                      5:16;12:6                 28:2,5,9;30:21;33:23,
unresolved (1)             withdraw (2)                24
  5:20                       17:21;19:4
up (8)                     withdrawal (1)                        7
  16:20,20;21:10;            19:10
  23:13;24:6,19,24;26:3    within (1)                7227 (1)
upload (1)                   20:8                      35:12
  30:2                     without (4)
upon (2)                     7:6;22:9;23:4;27:13                 8
  8:2;9:23                 word (4)
using (1)                    19:1,15,16,17           85020 (1)
  19:1                     work (5)                    35:13
                             21:23;23:12;26:20,
           V                 23;28:5
                           works (1)
vacuum (1)                   29:23
  27:12                    world (8)
variety (1)                  8:13;10:11;17:15;
  4:17                       19:23,24;22:2,5;32:10
vary (1)                   wrong (4)
  24:18                      14:19;18:11;22:20;
view (1)                     31:11
  6:7                      wrote (1)
violation (1)                20:4
  21:24
voluntarily (1)                      Y
  25:15
                           Yesterday (1)
          W                  33:3

wait (3)                              1
  8:13;10:1;21:25
waited (1)                 1:31 (1)
  33:5                       4:1
walk (1)                   10 (2)
  19:19                      4:1;13:8
wants (1)                  10,000 (2)
  17:15                      33:4,9
way (11)                   1004 (1)
  6:18;10:25;14:13;          4:11
  15:5;20:9,10,24;21:16;   1075 (3)
  23:3,13,13                 5:1;13:10,11
ways (1)                   10th (1)
  21:17                      27:22
WEDNESDAY (1)              11 (2)
  4:1                        17:17;35:15
Weil (1)                   1177 (1)
  4:7                        4:25
welcome (1)                1286 (1)
  9:16                       5:13
What's (3)                 13 (2)
  18:11;20:21;31:11          30:9;31:4
Whereupon (1)              16th (1)

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                                                     of 42
